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UNITED STATES DlSTRICT COURT AUG °- (] 2017 F'I£~ § D
NORTHERN DISTRIC'I` OF CALIFORNIA CLESUSANY
OAKLAND DIVISION NORTHERN'UD[OS-Tg:sr§)rcrcoum391(]|17
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United States of America, ) Case No fe 17" L/c 1 TS OM;EH//v(ggw :§rDtCSFS/SPNG
) CVF 411}=}3,§
Plaz'ntijj‘; ) ST]PULATED ORDER EXCLUDING M
_ ) TIl\/[E UNDER 'l`l-IE SPEEDY TRIAL ACT

V- )
Defendant. )

For the reason stated by the parties on the record on 8/3 o , 2017, the Court excludes time under the Speedy
Trial Act from §12 j - , 2017, to °`f éf , 2017 and Jfinds that the ends of justice served by the
continuance outweigh the best interest of the public and the defendant in a speedy trial. See 18 U.S.C. §
3161(h)(7)(A). The Court makes this finding and bases this continuance on the following factors:

Failure to grant a continuance would be likely to result in a miscarriage of justice.
See 18 U.S.C. § 3161(h)(7)(B)(I).

The case is so unusual or so complex, due to [cz'rcle applicable reasons ] the number of
defendants, the nature of the prosecution, or the existence of novel questions of fact

or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
itself Within the time limits established by this section See 18 U.S.C. § 3161(h)(7)(B)(ii).

F ailure to grant a continuance Would deny the defendant reasonable time to obtain counsel,
taking into account the exercise of due diligence See 18 U.S.C. § 316l(h)(7)(B)(iv).

Failure to grant a continuance Would unreasonably deny the defendant continuity of counsel,
given counsel's other scheduled case commitments, taking into account the exercise of due

ymca See 18 U.S.C. § 3161(h)(7)(B)(iv).
F ailure to grant a continuance Would unreasonably deny the defendant the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence
-See 18 U.S.C. § 3161(h)(7)(B)(iv).

F or the reasons stated on the record, it is further ordered that time is excluded under 18 U.S.C. §
3161(b) and Waived with the consent of the defendant under Federal Rules of Criminal Procedure
.5.l(c) and (d).

For the reasons stated on the record, it is further ordered that time is excluded under 18 U.S.C. §
3161(h)(1)(E)(F) for delay resulting from removal/transport of the defendant to another district

tr ls so oRDERED. %
DATED: /_‘l% 3ch ,2017 /
@),QNNA M. RYU

United States Magistrate Judge

§§

Assistant United States Attorney

  

 

 

Mrney for Defendant

